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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

LAFONZO R. TURNER, CASE NUMBER

2:14 cv 04758 JVS AGR
Plaintiff(s)

 

B. M. Cash et al, ORDER/REFERRAL TO ADR

Defendant(s).

 

 

The Court, having reviewed the parties’ Request: ADR Procedure Selection (Form ADR 01), the Notice
to Parties of Court Directed ADR Program, or the report submitted by the parties pursuant to Fed. R.
Civ. P. 26(f) and L.R. 26-1, hereby:

ORDERS this case referred to:

This matter is referred to the Prisoner Settlement Program. The parties are ordered to
contact the Program administrator to make all necessary arrangements.

IT IS FURTHER ORDERED:
The ADR proceeding is to be completed by: November 9, 2020.

January 23, 2020
Dated:

 

 

United States District Judge

cc: Prisoner Settlement Program

 

ADR-1!2 (04/18) ORDER/REFERRALTO ADR Page | of 1
